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                           EXHIBIT 1
   Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.7 Page 2 of 9



                                                                                                                                                              SUM-100
                                           SUMMONS                                                                              FOR COURT USE ONL Y
                                                                                                                            (SOLO PARA usa DE LA CORTE)
                                   (CITA CION JUDICIAL)

                                                                                                                                              .. ) rE'
                                                                                                                                                   U;; @
NOTICE TO DEFENDANT:
                                                                                                                            fTI' rt;l r<
                                                                                                          ~C
                                                                                                             :l~: ~                   ... '"- ~~
(AVISO AL DEMANDADO):
                                                                                                                  u 'J l.!:!)~·
BED BATH & BEYOND, INC .. ct. al.
                                                                                                                                                               .
                                                                                                                 :           OCT 05 2016",~3
YOU ARE BEING SUED BY PLAINTIFF:                                                                                       :';UPI::RiO~~ COURT
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                   COUN n' OF IMPEnlAL
                                                                                                                    TAMMY L GRIMM. CLERK
ROSIE G. LLAMAS                                                                                                  BY FRANCISCO ZUNIGA. DEPUTY




 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response You can find these court forms and more information at the California Courts
  Online Self·Help Center (www.courtinfo.ca.govlselfhelp). your county law library. or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court derk for a fee waiver form. If you do not file your response on time. you may lose the case by default. and your wages. money. and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney. you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (wwl'I.lawlJelpcalifomia.org). the California Courts Online Self·Help Center
 (www.courtinfo.ca.gov/selfhelp). or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10.000 or more in a civil case The court's lien must be paid before the court will dismiss the case.
 IA V1S01 Lo han demandado. Si no responde denlro de 30 dias. la corte puede decidir en su contfCI sin escuclJar so version. Lea /a infonnacion a
 continuaciOn.
    Tiene 30 OIAS DE CALENDARIO despues de que Ie entreguen csta cltacion y papelos legales para presentar una respuesta por escn'lo en esta
 corte y hacer que se entregue una cop/a al demandaflte. Una eartCl 0 IJIIll lIamada telefoniea no 10 protegen. Su resptlesta por eserilo tiene que eslar
 en fonnato legal correeto si desea que procesen su caso enla corte. £s posible que haya un fonnulario que usted pueda usar para su respuesla.
 Puede encontrar estos fonnularios de la corte y mas informacion ell el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov). en /a
 biblioteca de leyes de su condado 0 en la corte que Ie quede mas corca. Si no puede pagar la ctlota de presentacion. pida al secretario de la corte
 que Ie de un fonnulario de exencion de pago de cuolas. Si no presen/a su respues/a a /Iempo. puede perder el caso par incumplimiento y la corte Ie
 podrlJ quitar su sue/do, dinero y bienes sin mas advertencia.
    Hay olIOS requisitos legales. Es recomendable que lIame a un abogado inmediulumenle. Si 110 conoce a un abogado. puede lIamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado. es posible que cumpla can los requisltos para obtener servicios legales graluilos de un
 programa de servicios legales sin lines de lucro. Puede enconlrar estos grupos sin lines de luero en el sitio web de California Legal Services.
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California. (www.sucorte ca.gov) 0 poniendose en contacto con la corte 0 el
 colegio de abogados locales. A VISO: Par ley, la corte tiene derec/lo a reclamar las cuo/as y los cos/os exenlos por imponer un gravamen sobre
 cualquier recuperacion de $10,0000 mas de valor recibida mediante un Bcuerdo 0 una cOllcesion do arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desec/lar el easo.

The name and address of the court is:                                                                     CASE NUMBER
                                                                                                          (Nlirrn)fO dol   Casa)
tEl nombre y direcci6n de la corte es):
EI Centro Courthouse                                                                                       ECU09289
939 West Main Street
EI Centro, CA 92243
The name, address, and telephone number of plaintiff's attorney. or plaintiff without an attorney. is:
(Elno(nbre, la direccio[1Y e.l numero de lelMono del abogado del demaf1dante, 0 del demandante CJlIe no tiene abogado, es):
Samlf A. Atta. SBN 304511                                                                     (760)353-3484
Childers and Associates
1430 Broadway Street, EI Centro. CA 92243                                                    ~
DATE:                     .   ~7nlS            TAMMY l. GRIMM                  Clerk, by.                            I ,    J/2....-                           , Deputy
(Fecha)    OCT 0 5    Mt1 .                                            (Secm/ana)~'                                                                             (Adjunlo)
(For proof of sefVice of tllis summons, use Proof of Service of Summons (form POS·010).)                                          UN\GA
(Para prueba de en/rega de esla citation lise el (ormlllar;o Proof of Service of Summons. (POS-01O)).                         F, Z
                                      NOTICE TO THE PERSON SERVED: You are served
 (SEAL!
                                      1.   0 as an individual defendant.
                                      2.   D as the person sued under the fictitious name of (specify):


                                      3.   0     on behalf of (specify):

                                           under:   0     CCP 416.10 (corporation)                         0           CCP 416.60 (minor)
                                                    o     CCP 416.20 (defunct corporation)                 D
                                                                                                           D
                                                                                                                       CCP 416.70 (conservatee)
                                                    o     CCP 41640 (association or partnership)                       CCP 416.90 (authorized person)
                                                    o    other (specIfy).
                                      4.   0     by personal delivery on (elate):
                                                                                                                                                                   Pago 1 of 1
 FC)(m Adopled lor Mardalety Uso
  JudICial Council of Caktomia
                                                                       SUMMONS                                                         Cooo 01 C'vll Proeoduro §§ 412.20. 465
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  SUM·l00 (Rov July 1.20091
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     Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.8 Page 3 of 9




                                                                                                                                                                         PLD-PI-001
~':ORNEY OR PARTY WlTHOUT ATTORNEY (Namo. SI810 Bill' "umboi'. end oddIoss).                                                                           FOR COURT USE ONLY
    Samir A. Atta (SBN304511)
    Childers and Associates
    1430 Broadway Street


                                                                                                                                                                          @
    El Centro, CA 92243
         TELEPHONE NO: (760)353-3484            FAX NO (Optional)' (760)370-0522
  E-MAILAODRESS(OPtional):satta@rdchilderslaw.com
                                                                                                                                                 f'R\ © ~ ~ {'\'
    ATTORNEY FOR (Namo): Rosie G. Llamas
t-S-U-PE-R-IO-R-C-O....:UR-T-O.:...F..;:.C;:.;:;AL.=.::IF~O....::R:..:.NI-=A::.:;.C=O.:.::U=NTY:.....-O-F-[m-p-e-ri-al-------~'~1~~   00 ©&.1\ ru -                          U
           STREET ADDRESS 939 West Main Street                                                                               ft'l=i           OCT at::. 'In,~
           MAILINGAODRESS: 939 West Main Street                                                                              ~I:=A                .\      \).u
          CITY AND ZIP CODE. El Centro, 92243                                                                                                                OURl
              BRANCH NAME: El Centro Courthouse                                                                                               c5~~W8£~tIE~~~~
                 PLAINTIFF: ROSIE          O.    LLAMAS                                                                                BY    ;::~~co ZUNIGA. DEPUTY
              DEFENDANT: BED            BATH & BEYOND, INC.

 [X] DOES 1 TO 100
  COMPLAINT-Personal Injury, Property Damage, Wrongful Death
      [X] AMENDED (Number): First Amended Complaint
 Type (check all that apply):
 o    MOTOR VEHICLE           CJ OTHER (specify):
      D Property Damage CJ Wrongful Death
      [XJ Personal Injury          CJ Other Damages (specify):
 Jurisdiction (check all that apply):                                                                                                 CASE   NUMBER:
o     ACTION IS A LIMITED CIVIL CASE
      Amount demanded CJ does not exceed $10,000
                              CJ exceeds $10,000. but does not exceed $25,000
 [Xl ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                                                                ECU09289
 o    ACTION IS RECLASSIFIED by this amended complaint
          o from limited to unlimited
          o from unlimited to limited
1. Plaintiff (name or names):ROSIE G. LLAMAS
   alleges causes of adion against defendant (name or names):
   BED BATH & BEYOND, Inc.
2. This pleading. including attachments and exhibits, consists of the following number of pages: 5
3. Each plaintiff named above is a competent adult
   a. D except plaintiff (name):
              (1) c:J a corporation qualified to do business in California
              (2) c::J an unincorporated entity (describe):
              (3) CJ a public entity (describe):
              (4) CJ a minor CJ an adult
                       (a) CJ for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b) CJ other (specify):
              (5) CJ other (specify):
    b.   0         except plaintiff (name):
                   (1) c::J a corporation qualified to do business in California
                   (2) CJ an unincorporated entity (describe):
                   (3) CJ a public entity (describe):
                   (4) 0    a minor CJ an adult
                            (a) 0       for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                            (b) CJ other (specify):
                   (5) c::J other (specify):

   o         Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                                                         Page' 013
 F~c::,::~~10                                                 COMPLAINT-Personal Injury • Property                                                           Code of Civil Proc:ucfunt. § 425 12
                                                                                                                                                                         www.c:outtinto.co.QOV
                                                                   Damage, Wrongful Death
PI.D-PJ.OO1[Rov. JIrIIUItI)' 1. 2007]
                                                                                                                                                                   IAmanr:an LogaINot Inc. \
                                                                                                                                                                    www.FarmlWol*tlow.com




                                                                                                                                                                   Exhibit 1
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     Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.9 Page 4 of 9




                                                                                                                                           PLD·PI·001
     SHORT TITLE:                                                                                               CASE NUMBER:

  ROSIE O. LLAMAS v. BED BATH & BEYOND, Inc.                                                                                   ECU09289

4.    D          Plaintiff (name):
                 Is doing business under the fictitious name (specify):

                 and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
      a.       00 except defendant (name): Bed Bath & Beyond, Inc.               c.   D    except defendant (name):
                     (1)   D         a business organization, form unknown                 (1)   r:::J
                                                                                                    a business organization, form unknown
                     (2)   [KJ       a corporation                                         (2) D    a corporation
                     (3)   0         an unincorporated entity (describe):                  (3) D    an unincorporated entity (describe):

                     (4)   [:=J a public entity (deSCribe):                                (4)   D       a public entity (describe):

                     (5)   0         other (specify):                                      (5)   D       other (specify):




     b.    0         except defendant (name):                                    d.   CJ except defendant (name):
                     (1) [::J a business organization, form unknown                       (1)    [::J    a business organization, form unknown
                     (2) [::J a corporation                                               (2)    [::J    a corporation
                     (3) 0    an unincorporated entity (describe):                        (3)    [::J    an unincorporated entity (describe):

                     (4)   CJ a public entity (describe):                                 (4)    [::J    a public entity (describe):

                     (5)   CJ other (specify):                                            (5)    CJ other (specify):

      o          Information about additional defendants who are not natural persons is contained in Attachment 5.

6.        The true names of defendants sued as Does are unknown to plaintiff.
          a.    [XJ    Doe defendants (specify Doe numbers): 1 to 100                       were the agents or employees of other
                       named defendants and acted within the scope of that agency or employment.
          b.    00 Doe defendants (specify Doe numbers): 1 to 100                                        are persons whose capacities are unknown to
                        plaintiff.
7.     D            Defendants who are joined under Code of Civil Procedure section 382 are (names):




B.        This court is the proper court because
          a. 0     at least one defendant now resides in its jurisdictional area.
          b.    0  the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
          c.    00 injury to person or damage to personal property occurred in its jurisdictional area.
          d.    D other (specify):


9.     D            Plaintiff is required to comply with a claims statute, and
          a.    D       has complied with applicable claims statutes, or
          b.    0      is excused from complying because (specify):




PIJ).PI.oo1IRsv. Jsruaty 1.2(07)                         COMPLAINT-Personal Injury, Property                                                     PSllo2of 3
                                                             Damage, Wrongful Death



                                                                                                                                       Exhibit 1
                                                                                                                                       Page 3
  Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.10 Page 5 of 9




                                                                                                                                    PlD-PI-001
  SHORT TITLE:                                                                                      CASE NUMBER:

 ROSIE O. LLAMAS v. BED BATH & BEYOND, Inc.                                                                        ECU09289

 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a. 0     Motor Vehicle
     b. 00 General Negligence
     c.      0Intentional Tort
     d.      DProducts Liability
     e. [X] Premises Liability
     f. 0     Other (specify):




 11. Plaintiff has suffered
      a.     0   wage loss
     b.      0  loss of use of property
     c. [X] hospital and medical expenses
     d. 00 general damage
     e. CJ property damage
     f.      D  loss of earning capacity
     g. D       other damage (specify):




12.    U         The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
        a.   D listed in Attachment 12.
        b.   CJ as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.



14. Plaintiff prays for judgment for costs of suit: for such relief as is fair. just. and equitable; and for
    a. (1) [Xl compensatory damages
       (2) Cl punitive damages
       The amount of damages Is (in cases for personal injury or wrongful death. you must check (1»:
        (1) 00 according to proof
        (2)        D
                  in the amount of: $

15.    D       The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




Date: October           5, 2016

Samir A. Atta
                                  (TYPE OR PRINT NAME)                                       (SIGNATURE OF PLAINTIFF OR ArrORNEV)

PLO-PI.oo1 [RoY. JfJITU8tY 1. 2007)                      COMPLAINT-Personal Injury. Property                                           Pcg030f 3

                                                             Damage, Wrongful Death



                                                                                                                             Exhibit 1
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   Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.11 Page 6 of 9




                                                                                                                                        PLD-PJ-001 (2)
   SHORT TITLE:                                                                                      CASE NUMBER:

  ROSIE G. LLAMAS v. BED BATH & BEYOND, Inc.                                                                        ECU09289

            First                                     CAUSE OF ACTION-General Negligence                                     Page          _---1.4__
                               (number)

            ATTACHMENT TO                   [&] Complaint    CJ   Cross· Complaint
            (Use a separate cause of action fonn for each cause of action.)

            GN-1. Plaintiff (name):           ROSIE G. LLAMAS

                         alleges that defendant (name):     BED BATH & BEYOND, Inc.



                                      [X] Does    1               to   100
                                                  ~----

                        was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                        negligently caused the damage to plaintiff
                        on (data): November 3, 2014
                        at (place):       520 East Danenberg Road, EI Centro CA 92243
                        (description of reasons for liability):
                        Plaintiff Rosie G. Llamas ("Ms. Llamas") entered Defendant Bed Bath & Beyond, Inc. as a paying
                        customer. Ms. Llamas was walking around the store with her aunt Josie Llamas. Ms. Llamas
                        walked down an aisle when she tripped over a foot massager machine and electric cord. The
                        electric cord was unraveled on the floor. As Ms. Llamas fell forward she hit a merchandise display
                        with her forehead and left side of her body. Ms. Llamas fell to the floor. During the fall, a sharp
                        object went through her elbow. Ms. Llamas suffered harm to her wrist, backside, left ann, and
                        shoulder. Ms. Llamas was unable to breath, she was crying, and shaken.

                        Defendant Bed Bath & Beyond had a duty to not leave their foot massager and electric cord in the
                        middle of an aisle. This duty was breached when the foot massager and electric cord was left in the
                        middle of the aisle and Ms. Llamas tripped over the foot massager and electric cord. Defendant
                        Bed Bath & Beyond, Inc. caused this injury when they failed to clean up the aisle. As a result of
                        this breach, Ms. Llamas suffered harm.




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  Fotm AppRIvOd fOt Oplional Uao
    Jucficial Counc:II of C81ifomia                CAUSE OF ACTION-General Negligence
                                                                                                                            Codo   0'   Civd ~U1'8 425.12
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   Case 3:16-cv-02600-W-PCL Document 1-2 Filed 10/19/16 PageID.12 Page 7 of 9




                                                                                                                                          PLD-PI-001 (4)
  SHORT TITLE:                                                                                          CASE NUMBER:

 ROSIE G. LLAMAS v. BED BATH & BEYOND, Inc.                                                                             ECU09289

         Second                                      CAUSE OF ACTION-Premises Liability                                         Page _~5__
                         (number)
         ATIACHMENT TO                     [&J Complaint         0     Cross - Complaint
         (Use    a separate cause of action form for each cause of action.)
         Prem.L-1. Plaintiff (name): ROSIE G. LLAMAS
                     alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                           On (date):      November 3, 2014                       plaintiff was injured on the following premises in the following
                          fashion (description of premises and circumstances of injury):
                          Plaintiff Rosie G. Llamas ("Ms. Llamas") entered Defendant Bed Bath & Beyond, Inc. as a paying customer. Ms.
                          Llamas was walking around the store with her aunt Josie Llamas. Ms. Llamas walked down an aisle when she tripped
                          over a foot massager machine and electric cord. The electric cord was unraveled on the floor. As Ms. Llamas fell
                          forward she hit a merchandise display with her forehead and left side of her body. Ms. Llamas fell to the floor. During
                          the fall, a sharp object went through her elbow. Ms. Llamas suffered harm to her wrist, backside, left arm. and shoulder.
                          Ms. Llamas was unable to breath. she was crying, and shaken.


         Prem.L-2.            00      Count One-Negligence The defendants who negligently owned, maintained, managed and
                                      operated the described premises were (names):
                                      Bed Bath & Beyond, Inc.

                                      [XJ Does 1                            100
                                                     ...:...-----      to
         Prem.L-3.            Cl      Count Two-Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                                      or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                                      (names):



                                      c::J    Does
                                                     -----             to
                                      Plaintiff, a recreational user, was   0     an invited guest c::J a paying guest.
         Prem.L-4.            c::J    Count Three-Dangerous Condition of Public Property The defendants who owned public property
                                      on which a dangerous condition existed were (names):



                                                  c::JOoes                   to
                                      a.   c::J   The defendant public entity had 0       actual c::J constructive notice of the existence of the
                                                  dangerous condition in sufficient time prior to the injury to have correded it.
                                      b.   c::J   The condition was created by employees of the defendant public entity.
         Prem.L-5. a.         CJ      Allegations about Other Defendants The defendants who were the agents and employees of the
                                      other defendants and aded within the scope of the agency were (names):



                                      c:::J   Does
                                                     -----             to
                         b.   c:::J   The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                      c:::J described in attachment Prem.L-5.b 0 as follows (names):


                                                                                                                                                     PIIRO 1 of 1
  Fann AIlPtOYed for Oplional UN                     CAUSE OF ACTION-Premises Liability                                        todo of Civil PIOCOduro. § 425.12
   Jucflcial Council of Ca!ifomia                                                                                                          www.couttinfo.co.gov
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          RYAN D. CHILDERS. SI3N 232565
          KEVIN E. LAWLESS. SBN 279831
    2     SAMIR ATTA. SBN 304511
          CHILDERS & ASSOCIATES
     3    Attorneys at La\v
          1430 Broadwav Street
     4    EI Centro. CA" 92243
          Telephone: (760) 353-3484
     5    FaCSimile: (760) 370-0522
    6     Attorneys tor ROSIE G. LLAMAS
    7

     8                                          PROOF OF SERVICE OF SlJMMONS
    9                                      Rosie G. Llamas v. Bed Bath & Beyond, Inc .. ct al
 10       Case No.: ECU09289
 11               L the llndersigned~ declare that I am over tht;! age or eighteen (18) years and not a party to the
          within action; that I am a resident oC the County or Imperial. Slate or California; my business address
 12       is 1430 Br'ondway Street, EI Centro, C~llifornia, 92243; that on October 7. 2016. I served the
          following documents:
                   I.   Summons
14                 2.   Civil C:lSC Co\"cr Shcct
                   J.   First Amendcd Complnint
 15                4.   Stipuhltion :lllll Wro)loscd) Ordcr for Filin~ of First Amendcd Complaint
                   5.   Proof of Ser\'il'c of Su m mOils
 16
17        by the following manner:

 18        I.      X    By placing the true copy(ies) enclosed in sealed envelopcs. with CERTIFIED postage with
                        RETURN RECEIPT fully prt;!paid, for euch address stuted below, for collection and
19                      processing on the date indicated following the ordinary course of business at the Law
                        Office of Childers & Associales. located 1430 I1roadwav. EI Centro. California. [am
20                      aware that on motion of a party served. service is presumed invalid if the postal
                        cancellation date or postage mder is morc than one day after the date of deposit for
21                      mailing in this affidavit.

22        2.            By having copies delivcred \"ia Federal Express overnight service to the office of the
                        person served with a person who was in charge of accepting deliveries for that office.
?-.)...
          ....).
                         By personally serving copies         011   the bclow-listeLf pcrson(s) on the date indicated below .
24
          4.             Via facsimile at the numbers indicaled below for each person.
25
          to the following person(s):
26
27
28




           PROOr: Or: SERV[CE                                   .).




                                                                                                                   Exhibit 1
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                    Sean R. Burnett
                    Snyder Law, LLP
 2                  420 South Fairview Avenue, Suite 102
 3                  Santa Barbara, CA 93117

 4
 5   I declare under penalty of perjury under the laws of the State of California that the foregoing is true
 6   and correct.

 7
 8   Executed this 7th day of October. 2016 at El Centro, California.

 9
10
11                                                                  aCOQ~,~
12                                                                      Diane L. Perry

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     PROOF OF SERVICE                            -2-


                                                                                               Exhibit 1
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